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 1                          IN THE UNITED STATES DISTRICT COURTS
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 3                     AND THE NORTHERN DISTRICT OF CALIFORNIA
 4             UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 5              PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 6
 7    RALPH COLEMAN, et al.,
 8                           Plaintiffs,
                                                       NO. CIV S-90-0520 LKK JFM P
 9                    v.
                                                       THREE-JUDGE COURT
10    ARNOLD SCHWARZENEGGER,
      et al.,
11
                             Defendants.
12
13
      MARCIANO PLATA, et al.,                          NO. C01-1351 TEH
14
                             Plaintiffs,               THREE-JUDGE COURT
15
                      v.                               ORDER GRANTING
16                                                     SEPTEMBER 21, 2009
      ARNOLD SCHWARZENEGGER,                           MOTION TO INTERVENE BY
17    et al.,                                          ASSEMBLY REPUBLICANS

18                           Defendants.

19
20         On September 21, 2009, eleven members of the California Assembly, who identify
21 themselves as “Assembly Republican Intervenors,” collectively filed a motion to intervene in
22 this action.1 Plaintiffs and Intervenor California Correctional Peace Officers Association
23 filed statements of non-opposition to the motion, and no party or intervenor has indicated an
24 intent to oppose the motion. As this court previously held, Aug. 17, 2007 Order Re: Motions
25 to Intervene at 2, members of the California Legislature meet the statutory criteria for
26 intervention under 18 U.S.C. § 3626(a)(3)(F), which confers standing to oppose “the
27
           1
           These members of the Assembly were elected in November 2008 and were not in
28 office when the court granted intervention by other California state legislators.
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 1 imposition or continuation in effect” of a prisoner release order and the right to intervene in
 2 “any proceeding relating to such relief” on:
 3                [a]ny State or local official including a legislator or unit of
 4                government whose jurisdiction or function includes the
                  appropriation of funds for the construction, operation, or
 5                maintenance of prison facilities, or the prosecution or custody of
                  persons who may be released from, or not admitted to, a prison as
 6                a result of a prisoner release order . . . .

 7 18 U.S.C. § 3626(a)(3)(F). Intervention is therefore proper under Federal Rule of Civil
 8 Procedure 24(a)(1), which provides for intervention as of right “when a statute of the United
 9 States confers an unconditional right to intervene.”
10         Accordingly, the Assembly Republicans’ September 21, 2009 motion to intervene is
11 GRANTED. The eleven members of the Assembly who filed this motion shall participate in
12 this case as part of the group of Republican Legislative Intervenors who have already been
13 granted intervenor status.
14
15 IT IS SO ORDERED.
16
17 Dated: 10/02/09
                                        STEPHEN REINHARDT
18                                      UNITED STATES CIRCUIT JUDGE
                                        NINTH CIRCUIT COURT OF APPEALS
19
20
21 Dated: 10/02/09
                                        LAWRENCE K. KARLTON
22                                      SENIOR UNITED STATES DISTRICT JUDGE
                                        EASTERN DISTRICT OF CALIFORNIA
23
24
25 Dated: 10/02/09
                                        THELTON E. HENDERSON
26                                      SENIOR UNITED STATES DISTRICT JUDGE
                                        NORTHERN DISTRICT OF CALIFORNIA
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